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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                           Case Number: 22-20707-MC-MARTINEZ


 FARHAD AZIMA,

        Applicant,

 v.

 INSIGHT ANALYSIS AND RESEARCH
 LLC and SDC-GADOT,

       Respondent.
 __________________________________/

  ORDER GRANTING APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782(a)

        THIS CAUSE came before the Court upon Petitioner Farhad Azima’s Application for

 Order Pursuant to 28 U.S.C. § 1782(a) to Take Discovery from Respondents for use in proceedings

 pending in the United Kingdom (“Application”). (ECF No. 1). The Court has carefully considered

 the Application and supporting exhibits submitted on file. Accordingly, it is

        ORDERED AND ADJUDGED that:

        1.      The Application, (ECF No. 1), is GRANTED.

        2.      Petitioner is GRANTED leave to serve Insight Analysis and Research LLC and

 SDC-Gadot LLC with a subpoena for the production of documents and electronically stored

 information responsive to the categories of information and requests set forth in Exhibit H to the

 Application, (ECF No. 1-11), consistent with Rules 34 and 45 of the Federal Rules of Civil

 Procedure.

        3.      Respondents shall comply with such subpoenas in accordance with, and subject to,

 her rights under the Federal Rules of Civil Procedure and the Rules of this Court.



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       4.     The Court retains jurisdiction over this matter for purposes of enforcing this Order.

       5.     The Clerk is DIRECTED to ADMINISTRATIVELY CLOSE this case.

       DONE AND ORDERED in Chambers at Miami, Florida, this 10th day of March, 2022.




                                            _____________________________________
                                            JOSE E. MARTINEZ
                                            UNITED STATES DISTRICT JUDGE
 Copies provided to:
 All Counsel of Record




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